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                     IN THE UNITED STATES DISTRICT COURT                       U.S. D;sTRrcr COURT
                                                                                  AUGUIr TA DV.
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                              .1 01 1 JUN 21 P l: 18
                                    DUBLIN DIVISION
                                                                            CL ER KeLeLdffd
PAULO LOS OLLA,                                                                   SO, 01ST. OF CA

               Petitioner,

       V.                                         CV 311-098
                                                  (Formerly CR 308-011)
UNITED STATES OF AMERICA,

               Respondent.


                                         ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, Respondent's motion to dismiss is GRANTED (doc. no. 4), and the

instant motion filed pursuant to 28 U.S.C. § 2255 is DISMISSED without an evidentiary

hearing.

       Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniel, 529 U.S. 473, 482-84 (2000), Petitioner has
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failed to make the requisite showing. Accordingly, a COA is DENIED in this case.'

Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal in forma pauperis.

See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, this civil         is CLOSED.

        SO ORDERED thisy                                          2012, at Augusta, Georgia.




          "If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule
11(a) to the Rules Governing Section 2255 Proceedings.

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